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        Case 4:22-cv-00343-Y        Document 239-16 Filed 04/26/24                      Page 197
                                                                         Page 1 of 46 PageID     of 337
                                                                                              7335
  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
       10535 HOSPITAL WAY MATHER, CA 95655-4200
  SCL1 - PSA
  Collection DT Spec Lab PSA
  07/25/2019 10:35 SERUM [634] 1.04
  08/06/2015 13:38 SERUM [634] 0.79
  07/16/2014 11:17 SERUM [634] 0.68
  05/13/2010 11:26 SERUM [634] 0.69

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
       10535 HOSPITAL WAY MATHER, CA 95655-4200
  SCLU - TSH
  Collection DT Spec Lab Tsh
  08/20/2020 10:35 SERUM [634] 3.51
  07/25/2019 10:35 SERUM [634] 2.64

  Performing Lab Sites
  [634] SACRAMENTO VA MEDICAL CENTER [CLIA# 05D0988241]
      10535 HOSPITAL WAY MATHER, CA 95655-4200



  A/p:

  1. L knee pain s/p 3 surgeries, pain is now worsening, pt is SC for this.
  -update xray, then refer to ortho for further eval/treamtmentn as ongoing issue
  for years and worsening
  -NSAID PRN, use sparingly to avoid HTN
  -diclofenac gel PRN
  -will bring FMLA paperwork to appt with RNCM to fill out

  2. Cough: likely PND, encourage hydration and flonase PRN

  3. Cramp in extremities: likely related to dehydration, also a pilot
  -encourage water hydration, pt agrees with plan
  -check CMP

  4. L cataract: will f/u with eye clnic

  5. Elevated BP w/o HTN: advise to rest 10-15 min before checking BP, and will
  make log this week. F/u with RNCM in 1 week f2f for repeat BP check and will
  eval if HTN med needed.
  -foods to avoid discussed, as well as use NSAID sparingly
  -likely stress induced


  HCM:
  Colon Ca screening: last Cscope done 2011 and wnl, will order FIT test now
  Labs pending
  Immunizations: refused flu and covid booster
                                                                               APPENDIX 656
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                         Page 198
                                                                         Page 2 of 46 PageID     of 337
                                                                                              7336
  will make f2f with RN CM for BP check and drop off paperwork.


  Telephone time 20 min




  Clinical Reminders:
   Alcohol Use Screen (AUDIT-C):
     Alcohol Screen:
       SCREEN FOR ALCOHOL (AUDIT-C)
           An alcohol screening test (AUDIT-C) was negative (score=2).

         1. How often did you have a drink containing alcohol in the past
         year?
         Two to four times a month

          2. How many drinks containing al
  cohol did you have on a typical
          day when you were drinking in the past year?
          One or two drinks

         3. How often did you have six or more drinks on one occasion in
         the past year?
         Never
   Tobacco Use Screening:
    The patient has never used tobacco.
   Medication Reconciliation:


    Med Rec performed with patient/caregiver:
     -Home meds compared with CPRS meds
     -Medication allergies (local and remote) reviewed
     -Discrepancies, if any, discussed with patient/caregiver
     -Changes, if any, addressed in "Plan" section of visit note and
       reflected in CPRS medication list
     -Patient/caregiver provided with an updated medication list (or
       written instructions provided for minor med changes)
     -Education provided regarding managing personal medication
       information, including carrying an updated med list at all times
   Colonoscopy GAP Reminder:
    Recommendations are needed in the clinical reminder system following the
    patient's most recent colorectal cancer screening/surveillance test
    (Colonoscopy, Sigmoidoscopy or CT Colonography)
    Screening is due now. A FOBT/FIT (Fecal Immunochemical Testing) has been
    ordered and average risk CRC screening set to annual screening. See order
    tab for order details.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
                                                                              APPENDIX 657
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                          Page 199
                                                                          Page 3 of 46 PageID     of 337
                                                                                               7337
  Signed: 12/02/2021 11:05

  12/02/2021 ADDENDUM               STATUS: COMPLETED
  MSA, Please make f2f with RN CM next week.

  RNCM, pt will be dropping off FMLA paperwork, he will also need his BP checked.
  I have ordered labs for him to complete that day. thanks.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 12/02/2021 11:07

  Receipt Acknowledged By:
  12/09/2021 13:17    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care
  12/08/2021 14:15    /es/ MONICA MARIE MASER


  12/06/2021 ADDENDUM                 STATUS: COMPLETED
  msa cld #              left mssg for pt-to call 8003 to schedule appt for this
  week with the RN care manager-

  /es/ MONICA MARIE MASER

  Signed: 12/06/2021 15:57

  12/09/2021 ADDENDUM                    STATUS: COMPLETED
  Please let pt know B12 very low, i mailed out B12 500mcg dialy.
  Vitamin D very low, i mailed out 4000iu daily x 1 month, then 2000 iu daily
  thereafter.
  A1c in PreDm range, continue with low glycemic foods
  LDL not at goal, rec we watch diet, if he needs diet consult, we can place and
  reassess in 6months and if still elevated, rec statin therapy.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 12/09/2021 09:14

  Receipt Acknowledged By:
  12/09/2021 13:18    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  12/09/2021 ADDENDUM             STATUS: COMPLETED
  FMLA paperwork completed and handed to RNCM.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 12/09/2021 10:19

  Receipt Acknowledged By:
  12/09/2021 13:18    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care
                                                                                   APPENDIX 658
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                         Page 200
                                                                          Page 4 of 46 PageID     of 337
                                                                                               7338


                   Date/Time: 02 Dec 2021 @ 0950
                    Note Title: TCP Telephone Care Staff Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: BELANTES,GREG CASTRO
                 Co-signed By: BELANTES,GREG CASTRO
             Date/Time Signed: 02 Dec 2021 @ 0954

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: DEC 02, 2021@09:50:06 ENTRY DATE: DEC 02, 2021@09:54:05
     AUTHOR: BELANTES,GREG CASTR EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Type of call: CALL BACK.

  Contact Phone Number: 9162842402

  Patient's Email Address: 1RROSS@COMCAST.NET

  The following identifiers were used to verify this patient: DOB. SSN.

  Caller Area: MCCLELLAN

  Comments:
  Pt has family leave paperwork that he needs signed by PCP. Pt wants to know if
  possible he can send it to PCP via email. Pt has TAP 120221 @ 10:30.
  Pt can be reached: 916.284.2402.

  Chief Complaint: Not applicable to call.

  Caller Response: *OTHER

  Author: BELANTES,GREG CASTRO

  Class Code: Other specified counseling.

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 12/02/2021 @ 9:50:06 AM
  Ending at: 12/02/2021 @ 9:52:27 AM
  Length: 2 minutes.


  /es/ GREG CASTRO BELANTES
  Medical Support Assistant
                                                                               APPENDIX 659
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                          Page 201
                                                                           Page 5 of 46 PageID     of 337
                                                                                                7339
  Signed: 12/02/2021 09:54

  Receipt Acknowledged By:
  12/02/2021 10:34    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care
  12/03/2021 14:55    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                   Date/Time: 24 Sep 2021 @ 1330
                    Note Title: Report of Contact
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: GREEN,ALMITA CAREN
                 Co-signed By: GREEN,ALMITA CAREN
             Date/Time Signed: 24 Sep 2021 @ 1332

  Note


  LOCAL TITLE: Report of Contact
  STANDARD TITLE: ADMINISTRATIVE NOTE
  DATE OF NOTE: SEP 24, 2021@13:30 ENTRY DATE: SEP 24, 2021@13:30:37
     AUTHOR: GREEN,ALMITA CAREN EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Called pt. and lvm to call central appt. number and sched. appt. with PCP.

  /es/ ALMITA CAREN GREEN
  ADVANCED MSA
  Signed: 09/24/2021 13:32


                   Date/Time: 24 Sep 2021 @ 1001
                    Note Title: Care Management Nursing Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: JONES,SHEARON
                 Co-signed By: JONES,SHEARON
             Date/Time Signed: 24 Sep 2021 @ 1006

  Note


  LOCAL TITLE: Care Management Nursing Note
  STANDARD TITLE: CARE MANAGEMENT NURSING NOTE
  DATE OF NOTE: SEP 24, 2021@10:01 ENTRY DATE: SEP 24, 2021@10:01:41
     AUTHOR: JONES,SHEARON      EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Called patient and he was identified using 2/3 patient identifiers (full name,
  full soc sec number, birth date).
                                                                                   APPENDIX 660
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y    Document 239-16 Filed 04/26/24                         Page 202
                                                                        Page 6 of 46 PageID     of 337
                                                                                             7340

  COVID-19 Telephone Follow-Up
  Patient notified of negative COVID-19 test result.
   Recommendations:
    - Minimize contact with others until 24 hours
      after symptoms resolve.
    Steps to prevent the spread of COVID-19:
    - Stay at home except to get medical care that cannot be provided
      by a telephone or video visit.
    - Get rest and stay hydrated.
    - Call ahead before visiting your doctor.
    - Wear a facemask if you are around others.
    - Cover your coughs and sneezes.
    - Clean your hands often.
    - Keep a six-foot distance from others in your home, ideally in a
      separate room. Isolate in a private room, if available.
    - Avoid sharing household items.
    - Disinfect high touch surfaces daily, ideally with a product
      that kills cold and flu viruses.

  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 09/24/2021 10:06

  Receipt Acknowledged By:
  09/24/2021 10:58    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care


                   Date/Time: 24 Sep 2021 @ 0944
                    Note Title: TCP Telephone Care Staff Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: ROUNDTREE,CARLA NICOLE
                 Co-signed By: ROUNDTREE,CARLA NICOLE
             Date/Time Signed: 24 Sep 2021 @ 0945

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: SEP 24, 2021@09:44:45 ENTRY DATE: SEP 24, 2021@09:45:32
     AUTHOR: ROUNDTREE,CARLA NIC EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   *** TCP Telephone Care Staff Note Has ADDENDA ***

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

                                                                             APPENDIX 661
526652%(57$//(1
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        Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                         Page 203
                                                                          Page 7 of 46 PageID     of 337
                                                                                               7341
  Caller Area: MCCLELLAN

  Caller Response: *OTHER

  Type of call: CALL BACK.

  The following identifiers were used to verify this patient: DOB. SSN.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  pt called he would like to speak with you he can be reached (              Thank
  you-cr

  Author: ROUNDTREE,CARLA NICOLE

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 09/24/2021 @ 9:44:45 AM
  Ending at: 09/24/2021 @ 9:45:12 AM
  Length: 0 minutes.

  Patient's Email Address: 1RROSS@COMCAST.NET


  /es/ ROUNDTREE,CARLA NICOLE

  Signed: 09/24/2021 09:45

  Receipt Acknowledged By:
  09/24/2021 09:56    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care
  09/24/2021 10:40    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  09/24/2021 ADDENDUM                   STATUS: COMPLETED
  please follow up, thanks.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 09/24/2021 09:56

  Receipt Acknowledged By:
  09/24/2021 10:41    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                     Date/Time: 24 Sep 2021 @ 0802
                      Note Title: Care Management Nursing Note
                       Location: No CA Healthcare Sys-Martinez
                                                                               APPENDIX 662
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                        Page 204
                                                                        Page 8 of 46 PageID     of 337
                                                                                             7342
                    Signed By: JONES,SHEARON
                 Co-signed By: JONES,SHEARON
             Date/Time Signed: 24 Sep 2021 @ 0803

  Note


  LOCAL TITLE: Care Management Nursing Note
  STANDARD TITLE: CARE MANAGEMENT NURSING NOTE
  DATE OF NOTE: SEP 24, 2021@08:02 ENTRY DATE: SEP 24, 2021@08:03:02
     AUTHOR: JONES,SHEARON      EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  COVID-19 Telephone Follow-Up
  Unable to reach patient. Left message to call back.

  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 09/24/2021 08:03


                   Date/Time: 23 Sep 2021 @ 1031
                    Note Title: Screening Covid
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: YARMOLA,ULYANA
                 Co-signed By: YARMOLA,ULYANA
             Date/Time Signed: 23 Sep 2021 @ 1033

  Note


  LOCAL TITLE: Screening Covid
  STANDARD TITLE: INFECTIOUS DISEASE RISK ASSESSMENT SCREENING NOT
  DATE OF NOTE: SEP 23, 2021@10:31 ENTRY DATE: SEP 23, 2021@10:31:42
     AUTHOR: YARMOLA,ULYANA        EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

   *** Screening Covid Has ADDENDA ***

  Coronavirus Disease 2019 (COVID-19) Screen
  The patient was asked if in the last 14 days they have had new onset of any
  COVID-19 symptoms. They report the following:
   Cough
   Sore throat
  The patient reports close exposure (within 6 feet for more than 15 minutes) to
  someone with a febrile/respiratory illness within the last 14 days.

  Result:
   Patient has a positive symptom or exposure and requires further evaluation.

                                                                                 APPENDIX 663
526652%(57$//(1
'DWHRI%LUWK
        Case 4:22-cv-00343-Y    Document 239-16 Filed 04/26/24                       Page 205
                                                                      Page 9 of 46 PageID     of 337
                                                                                           7343
  COVID-19 Swab Testing
  Swab completed for Covid-19
   CDC Person Under Investigation (PUI) form completed and to lab w/specimen
    Symptoms: cough, sore throat
  Plan: Discharged Home for Self-Quarantine, Post Swab Instructions Reviewed,
  Home Care Instructions Reviewed

  Veteran/caregiver verbalized an understanding of/agreed with the plan of care.
  Veteran/caregiver instructed to call VetsCONNECT or the PACT care manager for
  any future routine issues/concerns. Veteran/caregiver advised to call 911 for
  any potentially life threatening problems/conditions.

  /es/ Ulyana Yarmola,RN, BSN
  Nurse, COVID Vacc/Swab, PACT/SAC
  Signed: 09/23/2021 10:33

  09/24/2021 ADDENDUM                   STATUS: COMPLETED
  Please let pt know covid test is negative.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 09/24/2021 07:57

  Receipt Acknowledged By:
  09/24/2021 10:40    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                   Date/Time: 23 Sep 2021 @ 0950
                    Note Title: Medical Clerk Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: GREEN,ALMITA CAREN
                 Co-signed By: GREEN,ALMITA CAREN
             Date/Time Signed: 23 Sep 2021 @ 0951

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: SEP 23, 2021@09:50 ENTRY DATE: SEP 23, 2021@09:50:32
     AUTHOR: GREEN,ALMITA CAREN EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Walk in visit
   MSA Same Day Care: Unscheduled Visit
    From: Walk-In
   Visit
    Reason: Health Concern pid 09.23.2021, COVID test, PUI, cough & sore
  throat
   Disposition
                                                                             APPENDIX 664
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                         Page 206
                                                                         Page 10 of 46 PageID    of 337
                                                                                              7344
    To: Nurse

  /es/ ALMITA CAREN GREEN
  ADVANCED MSA
  Signed: 09/23/2021 09:51


                   Date/Time: 22 Sep 2021 @ 1625
                    Note Title: TCP Telephone Care Staff Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: LEITNAKER,KAREN MARIE
                 Co-signed By: LEITNAKER,KAREN MARIE
             Date/Time Signed: 22 Sep 2021 @ 1645

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: SEP 22, 2021@16:25:54 ENTRY DATE: SEP 22, 2021@16:45:35
     AUTHOR: LEITNAKER,KAREN MAR EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

  Caller Area: MCCLELLAN

  Caller Response: *OTHER

  Type of call: SYMPTOM.

  The following identifiers were used to verify this patient: DOB. SSN. Other:
  full name.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  MSA/Clerk comments: Pt reports lethargy, congestion, runny nose, productive
  cough x1 week. Best
  number:

  Nurse Notes:
  Clinical Contact/Call Center COVID 19 SCREEN UPDATE_2_0_200, April 2021 Screen
  version 7.1

  Record the patient's responses to the following questions: (check all that
  apply, or None at the end)
                                                                                 APPENDIX 665
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                        Page 207
                                                                      Page 11 of 46 PageID    of 337
                                                                                           7345

  In the last 14 days have you had new onset of any of the following symptoms?
     a. Chills:
        () Yes
        (X) No
        Comment(s):
     b. Cough:
        (X) Yes
        () No
        Comment(s):
     c. Diarrhea:
        () Yes
        (X) No
        Comment(s):
     d. Fatigue:
        (X) Yes
        () No
        Comment(s):
     e. Fever:
        () Yes
        (X) No
        Comment(s):
     f. Headache:
        (X) Yes
        () No
        Comment(s):
     g. Loss of taste or smell:
        () Yes
        (X) No
        Comment(s):
     h. Muscle pain (Myalgias):
        (X) Yes
        () No
        Comment(s):
     i. Nausea:
        () Yes
        (X) No
        Comment(s):
     j. Runny nose (Rhinorrhea):
        (X) Yes
        () No
        Comment(s):
     k. Shortness of breath (Dyspnea):
        (X) Yes
        () No
        Comment(s):
     l. Sore throat:
        (X) Yes
        () No
        Comment(s):
     m. Vomiting:
        () Yes
                                                                             APPENDIX 666
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                      Page 208
                                                                      Page 12 of 46 PageID    of 337
                                                                                           7346
      (X) No
      Comment(s):

    No Symptoms ()

  Within the last 14 days, have you had:
    Close exposure (within 6 feet for more than 15 minutes) to someone with a
  febrile/respiratory illness
       () Yes
             Comment(s):

    Close exposure (within 6 feet for more than 15 minutes) to someone with
  known or suspected case of COVID-19
      () Yes
      Comment(s):

    No known exposure (X)

  Veteran declined triage, requested COVID test d/t cold/flu like symptoms.
  Denied respiratory distress and chest pain. Covid screen performed and Veteran
  is a PUI, Covid swab ordered per protocol. Veteran agrees to report to
  McClellan VA Clinic to get a Covid Test. Provided education, home care and
  warning signs. Advised to call Vets Connect 1-800-382-8387 if symptoms worsen
  or for any additional questions or concerns. Veteran verbalized understanding.
  Will forward note to Provider/PACT.


  Any symptom or exposure equal to positive screen:
    Patient has a POSITIVE symptom or exposure and requires further evaluation
      Nurse/Provider/Other notified (X) Yes
                Comments(s):

    Screen is negative ()

   ************

  Patient is waiting on COVID-19 test results:
       () Yes
       (X) No
       Comment(s):
  Patient reports prior COVID-19 Diagnosis:
       () Yes
       (X) No
       Comment(s):

  Author: LEITNAKER,KAREN MARIE

  Evaluation/Management Code: HC PRO PHONE CALL 11-20 MIN (98967).
  Original call started at: SEP 22, 2021 @ 16:21 (Call was suspended)
  - GLATT,MARY E SEP 22, 2021@16:21:58 - SEP 22, 2021@16:24:46

  Ending at: 09/22/2021 @ 4:38:30 PM
                                                                                APPENDIX 667
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                          Page 209
                                                                         Page 13 of 46 PageID    of 337
                                                                                              7347
  Length: 15 minutes. (Call was suspended. This call length is the total amount
  of time spent "active" in Telecare Record Manager.)

  Patient's Email Address: 1RROSS@COMCAST.NET


  /es/ Karen Marie Leitnaker, RN
  Telephone Advice Nurse
  Signed: 09/22/2021 16:45

  Receipt Acknowledged By:
  09/23/2021 08:05    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care


                   Date/Time: 15 Jun 2021 @ 0935
                    Note Title: Medical Clerk Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: DHILLON,RAVNEET KAUR
                 Co-signed By: DHILLON,RAVNEET KAUR
             Date/Time Signed: 15 Jun 2021 @ 0937

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: JUN 15, 2021@09:35 ENTRY DATE: JUN 15, 2021@09:35:53
     AUTHOR: DHILLON,RAVNEET KAU EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Documenting COVID Vaccine information from CAIR2 database

  Moderna COVID-19 Vaccine given previously
  Patient received a prior dose of the Moderna COVID-19 Vaccine.
   Date: February 27, 2021
   Location: EL DORADO PUBLIC HEALTH DEPARTMENT PLACERVILLE
  Patient received a prior dose of the Moderna COVID-19 Vaccine.
   Date: March 27, 2021
   Location: El Dorado County Emergency Medical Services Agency

  /es/ RAVNEET KAUR DHILLON
  Advanced Medical Support Assistant
  Signed: 06/15/2021 09:37


                     Date/Time: 29 Apr 2021 @ 1119
                      Note Title: Primary Care Telephone Note
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: DULAI,KAMALPREET
                                                                                  APPENDIX 668
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                        Page 210
                                                                        Page 14 of 46 PageID    of 337
                                                                                             7348
                 Co-signed By: DULAI,KAMALPREET
             Date/Time Signed: 29 Apr 2021 @ 1120

  Note


  LOCAL TITLE: Primary Care Telephone Note
  STANDARD TITLE: PRIMARY CARE TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: APR 29, 2021@11:19 ENTRY DATE: APR 29, 2021@11:19:37
     AUTHOR: DULAI,KAMALPREET EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  COVID-19 Telephone Follow-Up
  Patient notified of negative COVID-19 test result.
   Recommendations:
    - Minimize contact with others until 24 hours
      after symptoms resolve.
    Steps to prevent the spread of COVID-19:
    - Stay at home except to get medical care that cannot be provided
      by a telephone or video visit.
    - Get rest and stay hydrated.
    - Call ahead before visiting your doctor.
    - Wear a facemask if you are around others.
    - Cover your coughs and sneezes.
    - Clean your hands often.
    - Keep a six-foot distance from others in your home, ideally in a
      separate room. Isolate in a private room, if available.
    - Avoid sharing household items.
    - Disinfect high touch surfaces daily, ideally with a product
      that kills cold and flu viruses.


  Work letter written to return to work with no restrictions.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 04/29/2021 11:20


                   Date/Time: 28 Apr 2021 @ 1000
                    Note Title: Screening Covid
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: INTAGLIATA,MARGARET JOAN
                 Co-signed By: INTAGLIATA,MARGARET JOAN
             Date/Time Signed: 28 Apr 2021 @ 1003

  Note


  LOCAL TITLE: Screening Covid
  STANDARD TITLE: INFECTIOUS DISEASE RISK ASSESSMENT SCREENING NOT
                                                                              APPENDIX 669
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                         Page 211
                                                                        Page 15 of 46 PageID    of 337
                                                                                             7349
  DATE OF NOTE: APR 28, 2021@10:00 ENTRY DATE: APR 28, 2021@10:00:38
    AUTHOR: INTAGLIATA,MARGARET EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Coronavirus Disease 2019 (COVID-19) Screen
  The patient was asked if in the last 14 days they have had new onset of any
  COVID-19 symptoms. They report the following:
   No symptoms
  The patient reports close exposure (within 6 feet for more than 15 minutes) to
  someone with known or suspected case of COVID-19 in the last 14 days.

  Result:
   Patient has a positive symptom or exposure and requires further evaluation.
  COVID-19 Secondary Screening
  Temperature
   96.8 F (36 C)
  Pulse
   69
  Pulse Oximetry 98 Room Air
  The patient has the following previously known conditions which may mimic
  COVID-19 symptoms:
  None
  Plan:
  Home Care Instructions Reviewed, Report to testing center for swabbing
  swabbed for Covid -19 positive exposure. Veteran is asymptomatic

  Veteran/caregiver verbalized an understanding of/agreed with the plan of care.
  Veteran/caregiver instructed to call VetsCONNECT or the PACT care manager for
  any future routine issues/concerns. Veteran/caregiver advised to call 911 for
  any potentially life threatening problems/conditions.

  /es/ MARGARET JOAN INTAGLIATA
  Nursing Service, Diabetes Educator, Primary Care
  Signed: 04/28/2021 10:03

  Receipt Acknowledged By:
  04/28/2021 10:24    /es/ Kamalpreet Dulai, MD
                Physician, Primary Care
  04/28/2021 15:00    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                   Date/Time: 28 Apr 2021 @ 0936
                    Note Title: Medical Clerk Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: HELFRICK,MARY LIN
                 Co-signed By: HELFRICK,MARY LIN
             Date/Time Signed: 28 Apr 2021 @ 0938

  Note

                                                                                 APPENDIX 670
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                          Page 212
                                                                          Page 16 of 46 PageID    of 337
                                                                                               7350


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: APR 28, 2021@09:36 ENTRY DATE: APR 28, 2021@09:36:57
     AUTHOR: HELFRICK,MARY LIN EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Walk in visit
   MSA Same Day Care: Unscheduled Visit
    From: Walk-In
   Visit
    Reason: Health Concern pt had direct contact w/positive person 04/21
   Disposition
    To: Nurse

  /es/ MARY LIN HELFRICK

  Signed: 04/28/2021 09:38


                   Date/Time: 23 Apr 2021 @ 1546
                    Note Title: Primary Care Telephone Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: DULAI,KAMALPREET
                 Co-signed By: DULAI,KAMALPREET
             Date/Time Signed: 23 Apr 2021 @ 1555

  Note


  LOCAL TITLE: Primary Care Telephone Note
  STANDARD TITLE: PRIMARY CARE TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: APR 23, 2021@15:46 ENTRY DATE: APR 23, 2021@15:46:56
     AUTHOR: DULAI,KAMALPREET EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Pt called for TAP today. Pt states his daughter has to quarantine until 5/1 due

  to COVID+ contact at school, therefore he and the rest of the family will also
  quarantine. He denies any symptoms, neither does the family. No SOB, fevers, ab

  pain, diarrhea, loss of taste/smell, fatigue, body aches. He would like to get
  testing done on 4/26 and if neg, safely go back to work. He works for the
  airlines.

  He also has pain in thumb, states he picked at a hang nail. Now is red and
  swollen on side, no pus. Has been bleeding as well.


  A/P:
                                                                                    APPENDIX 671
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                           Page 213
                                                                          Page 17 of 46 PageID    of 337
                                                                                               7351
  1. PUI: asymptomatic, however COVID + contact by daughter at school, who was
  asked to quarantine,therefore whole family is going to quarantine until 5/1.
  -work letter given to quarantine until 5/1, however will test on 4/26 and if
  negative, can safely go to work.

  2. Paronychia: likely from hangnail.
  -warm water soaks, slow massage, and use OTC bacitracin x 1 week. If not
  improving, may need oral antibiotics. Pt agrees with plan.


  Telephone time 15 minutes

  Clinical Reminders:
   Medication Reconciliation:

    Med Rec performed with patient/caregiver:
     -Home meds compared with CPRS meds
     -Medication allergies (local and remote) reviewed
     -Discrepancies, if any, discussed with patient/caregiver
     -Changes, if any, addressed in "Plan" section of visit note and
       reflected in CPRS medication list
     -Patient/caregiver provided with an updated medication list (or
       written instructions provided for minor med changes)
     -Education provided regarding managing personal medication
       information, including carrying an updated med list at all times

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 04/23/2021 15:55


                   Date/Time: 23 Apr 2021 @ 1011
                    Note Title: Medical Clerk Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: O'NEIL-DOMINGUEZ,KIARA
                 Co-signed By: O'NEIL-DOMINGUEZ,KIARA
             Date/Time Signed: 23 Apr 2021 @ 1019

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: APR 23, 2021@10:11 ENTRY DATE: APR 23, 2021@10:11:41
     AUTHOR: O'NEIL-DOMINGUEZ,KI EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Walk in visit
   MSA Same Day Care: Unscheduled Visit
    From: Walk-In
   Visit
                                                                                APPENDIX 672
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y        Document 239-16 Filed 04/26/24                         Page 214
                                                                          Page 18 of 46 PageID    of 337
                                                                                               7352
       Reason: Health Concern// right thumb sidewall bleeding "something stuck
  in
    there"
   Disposition
    To: Other

  /es/ O'NEIL-DOMINGUEZ,KIARA

  Signed: 04/23/2021 10:19


                     Date/Time: 22 Apr 2021 @ 0956
                      Note Title: TCP Telephone Care Staff Note
                       Location: No CA Healthcare Sys-Martinez
                      Signed By: HOLLOW,NYX ALIXANDIR
                   Co-signed By: HOLLOW,NYX ALIXANDIR
               Date/Time Signed: 22 Apr 2021 @ 1002

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: APR 22, 2021@09:56:11 ENTRY DATE: APR 22, 2021@10:02:39
     AUTHOR: HOLLOW,NYX ALIXANDI EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

   *** TCP Telephone Care Staff Note Has ADDENDA ***

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

  Caller Area: MCCLELLAN

  Caller Response: MESSAGE LEFT

  Type of call: CALL BACK.

  The following identifiers were used to verify this patient: DOB. SSN.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  Pt called requesting letter excusing him from work due to having to quarantine
  after his daughter was exposed to COVID-19. Pt states he needs to have letter
  by 04/23/2021. Pt requesting call back today 04/22/2021 if possible to confirm
  that he will be able to get letter.
  Pt scheduled for TAP with PCP 04/23/2021 @1530 to discuss additional
                                                                                 APPENDIX 673
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                         Page 215
                                                                        Page 19 of 46 PageID    of 337
                                                                                             7353
  information. Best number:

  Author: GLATT,MARY E

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 4/22/2021 @ 9:56:11 AM
  Ending at: 4/22/2021 @ 10:02:05 AM
  Length: 5 minutes.

  Patient's Email Address: 1RROSS@COMCAST.NET


  /es/ MARY E GLATT

  Signed: 04/22/2021 10:02

  Receipt Acknowledged By:
  04/22/2021 10:32     /es/ Kamalpreet Dulai, MD
                 Physician, Primary Care
  04/22/2021 10:07     /es/ James B. Painter, RN
                 RN Case Manager, Primary Care Clinic
               for SHEARON JONES
  05/06/2021 12:12     /es/ Rima Oleynik, LVN
                 Licensed Vocational Nurse, Primary Care

  04/22/2021 ADDENDUM                  STATUS: COMPLETED
  RN CM, ok to write letter for quarantine, please follwo up with patient on dates

  needed. Thanks.

  /es/ Kamalpreet Dulai, MD
  Physician, Primary Care
  Signed: 04/22/2021 10:32

  Receipt Acknowledged By:
  04/22/2021 14:10    /es/ James B. Painter, RN
                RN Case Manager, Primary Care Clinic


                   Date/Time: 14 Oct 2020 @ 0826
                    Note Title: Care Management Nursing Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: JONES,SHEARON
                 Co-signed By: JONES,SHEARON
             Date/Time Signed: 14 Oct 2020 @ 0834

  Note


  LOCAL TITLE: Care Management Nursing Note
  STANDARD TITLE: CARE MANAGEMENT NURSING NOTE
                                                                                APPENDIX 674
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                          Page 216
                                                                          Page 20 of 46 PageID    of 337
                                                                                               7354
  DATE OF NOTE: OCT 14, 2020@08:26 ENTRY DATE: OCT 14, 2020@08:26:49
    AUTHOR: JONES,SHEARON       EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Called patient and he was identified using 2/3 patient identifiers (full name,
  full soc sec number, birth date).

  COVID-19 Telephone Follow-Up
  Patient notified of negative COVID-19 test result.
   Recommendations:
    - Minimize contact with others until 24 hours
      after symptoms resolve.
    Steps to prevent the spread of COVID-19:
    - Stay at home except to get medical care that cannot be provided
      by a telephone or video visit.
    - Get rest and stay hydrated.
    - Call ahead before visiting your doctor.
    - Wear a facemask if you are around others.
    - Cover your coughs and sneezes.
    - Clean your hands often.
    - Keep a six-foot distance from others in your home, ideally in a
      separate room. Isolate in a private room, if available.
    - Avoid sharing household items.
    - Disinfect high touch surfaces daily, ideally with a product
      that kills cold and flu viruses.

  Patient requests copy of COVID-19 test result for employer.

  /es/ Shearon Jones, RN
  Nursing Service, Case Manager, Primary Care
  Signed: 10/14/2020 08:34

  Receipt Acknowledged By:
  10/14/2020 10:15    /es/ Eleanor Bucaycay, MD
                Physician, Primary Care


                   Date/Time: 09 Oct 2020 @ 1524
                    Note Title: TCP Telephone Care Staff Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: KRUPA,SARAH MARIE
                 Co-signed By: KRUPA,SARAH MARIE
             Date/Time Signed: 09 Oct 2020 @ 1529

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: OCT 09, 2020@15:24:26 ENTRY DATE: OCT 09, 2020@15:29:59
     AUTHOR: KRUPA,SARAH MARIE EXP COSIGNER:
                                                                                   APPENDIX 675
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                       Page 217
                                                                       Page 21 of 46 PageID    of 337
                                                                                            7355
    URGENCY:                   STATUS: COMPLETED

   *** TCP Telephone Care Staff Note Has ADDENDA ***

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

  Caller Area: MCCLELLAN

  Caller Response: MESSAGE LEFT

  Type of call: CALL BACK.

  The following identifiers were used to verify this patient: DOB.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  --Pt is requesting results for "COVID19 test"

  Please email results so Pt may go back to work.

  Please contact Pt.

  Author: KRUPA,SARAH MARIE

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 10/09/2020 @ 3:24:26 PM
  Ending at: 10/09/2020 @ 3:29:11 PM
  Length: 4 minutes.

  Patient's Email Address: 1RROSS@COMCAST.NET


  /es/ SARAH MARIE KRUPA
  Medical Support Assistant
  Signed: 10/09/2020 15:29

  Receipt Acknowledged By:
  10/23/2020 15:31    /es/ Eleanor Bucaycay, MD
                Physician, Primary Care
  10/14/2020 08:45    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care

  10/13/2020 ADDENDUM                 STATUS: COMPLETED
  Unable to reach patient. Left voicemail message asking that telephone call be
  returned.

  /es/ Shearon Jones, RN
                                                                              APPENDIX 676
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                          Page 218
                                                                          Page 22 of 46 PageID    of 337
                                                                                               7356
  Nursing Service, Case Manager, Primary Care
  Signed: 10/13/2020 10:35


                   Date/Time: 06 Oct 2020 @ 1438
                    Note Title: TCP Telephone Care Staff Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: TKACHOVA,ANNA
                 Co-signed By: TKACHOVA,ANNA
             Date/Time Signed: 06 Oct 2020 @ 1443

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: OCT 06, 2020@14:38:48 ENTRY DATE: OCT 06, 2020@14:43:53
     AUTHOR: TKACHOVA,ANNA         EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

  Caller Area: MCCLELLAN

  Caller Response: *OTHER

  Type of call: INFORMATION.

  The following identifiers were used to verify this patient: DOB. SSN.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  pts job requires him to have paper work, proof that he had covid19 test done
  today 10.06.20 in order to take him off a flight on 10.08.20
  you can email it to 1RROSS@COMCAST.NET
  or please contact pt as soon as possible
  thank you -AT

  Author: TKACHOVA,ANNA

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 10/06/2020 @ 2:38:48 PM
  Ending at: 10/06/2020 @ 2:43:34 PM
  Length: 4 minutes.

  Patient's Email Address: 1RROSS@COMCAST.NET
                                                                                 APPENDIX 677
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                          Page 219
                                                                          Page 23 of 46 PageID    of 337
                                                                                               7357


  /es/ ANNA TKACHOVA

  Signed: 10/06/2020 14:43

  Receipt Acknowledged By:
  12/09/2020 16:02    /es/ Eleanor Bucaycay, MD
                Physician, Primary Care
  10/08/2020 11:39    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care
  10/06/2020 16:09    /es/ KELLEY DAWN STEELE-SMITH
                AMSA


                   Date/Time: 06 Oct 2020 @ 1221
                    Note Title: Injections, Immunizations, Skin Tests
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: KRAFT,ERIC EDWARD
                 Co-signed By: KRAFT,ERIC EDWARD
             Date/Time Signed: 06 Oct 2020 @ 1223

  Note


  LOCAL TITLE: Injections, Immunizations, Skin Tests
  STANDARD TITLE: IMMUNIZATION NOTE
  DATE OF NOTE: OCT 06, 2020@12:21 ENTRY DATE: OCT 06, 2020@12:21:36
     AUTHOR: KRAFT,ERIC EDWARD EXP COSIGNER:
    URGENCY:                  STATUS: COMPLETED

  The patient was given the influenza VIS which lists the benefits and side
  effects of the vaccine and which reviews the risks of not receiving the flu
  vaccine. The VIS was reviewed with the patient and they were given an
  opportunity to ask questions. The patient was provided education on how to
  decrease the risk of influenza infection including social distancing and use of
  good hand hygiene. The patient denied any prior severe reaction to the flu
  vaccine or its components. The patient gave verbal consent to receive the
  vaccine.

  The seasonal influenza vaccine VIS given to the patient:
  VIS version date Aug 15,2019.
   The patient received seasonal influenza vaccine today - Influenza,
   Quadrivalent preservative free (Fluarix) 0.5 ml IM today in Left Deltoid.
   Manufacturer: GlaxoSmithKline
   Lot # and Expiration Date: Fluarix; Lot# 9S4K5; Expires: 6/30/21
   Administered by protocol/policy
   Complications: None
   Influenza vaccine administered by: Jiminez, Justin LVN
       Credentials: LPN

                                                                                    APPENDIX 678
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y   Document 239-16 Filed 04/26/24                   Page 220
                                                               Page 24 of 46 PageID    of 337
                                                                                    7358
  /es/ Eric Kraft, LVN
  Primary Care
  Signed: 10/06/2020 12:23


                  Date/Time: 06 Oct 2020 @ 1030
                   Note Title: Medical Clerk Note
                    Location: No CA Healthcare Sys-Martinez
                   Signed By: SHEKHAR,RONIKA DEVI
                Co-signed By: SHEKHAR,RONIKA DEVI
            Date/Time Signed: 06 Oct 2020 @ 1031

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: OCT 06, 2020@10:30 ENTRY DATE: OCT 06, 2020@10:30:42
     AUTHOR: SHEKHAR,RONIKA DEVI EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Walk in visit
   MSA Same Day Care: Unscheduled Visit
    From: Walk-In
   Visit
    Reason: Health Concern on demand
   Disposition
    To: Nurse

  /es/ RONIKS SHEKHAR SHEKHAR
  medical support assistan
  Signed: 10/06/2020 10:31


                  Date/Time: 06 Oct 2020 @ 0833
                   Note Title: TCP Telephone Care Staff Note
                    Location: No CA Healthcare Sys-Martinez
                   Signed By: DIANGELO,AMELIA DARAY
                Co-signed By: DIANGELO,AMELIA DARAY
            Date/Time Signed: 06 Oct 2020 @ 0835

  Note


  LOCAL TITLE: TCP Telephone Care Staff Note
  STANDARD TITLE: NURSING TELEPHONE ENCOUNTER NOTE
  DATE OF NOTE: OCT 06, 2020@08:33:39 ENTRY DATE: OCT 06, 2020@08:35:22
     AUTHOR: DIANGELO,AMELIA DAR EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

                                                                     APPENDIX 679
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                          Page 221
                                                                          Page 25 of 46 PageID    of 337
                                                                                               7359
  **PATIENT called in for ROSS,ROBERT ALLEN (387725153) Phone: 9162842402.

  Contact Phone Number: 9162842402

  Caller Area: MCCLELLAN

  Caller Response: *OTHER

  Type of call: SYMPTOM.

  The following identifiers were used to verify this patient: DOB. SSN.

  Class Code: Other specified counseling.

  Chief Complaint: Not applicable to call.

  Comments:
  Vet was covis tested 9/15 but said that his daughter has come down with SX of
  covid and they are waiting on her results to come back.. He doesn't have any
  SX
  but said that he wants ti come into NSAC to have another test done this am. Vet
  can be reached at 916 284 2402

  Author: DIANGELO,AMELIA DARAY

  Evaluation/Management Code: HC PRO PHONE CALL 5-10 MIN (98966).
  Starting at: 10/06/2020 @ 8:33:39 AM
  Ending at: 10/06/2020 @ 8:35:16 AM
  Length: 1 minutes.

  Patient's Email Address: 1RROSS@COMCAST.NET


  /es/ Amelia Darya Diangelo
  Martinez Call Center (MSA)
  Signed: 10/06/2020 08:35

  Receipt Acknowledged By:
  10/20/2020 14:59    /es/ Eleanor Bucaycay, MD
                Physician, Primary Care
  10/06/2020 10:19    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                   Date/Time: 17 Sep 2020 @ 1404
                    Note Title: Nursing Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: OLEYNIK,RIMA
                 Co-signed By: OLEYNIK,RIMA
             Date/Time Signed: 17 Sep 2020 @ 1409

                                                                                APPENDIX 680
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                        Page 222
                                                                        Page 26 of 46 PageID    of 337
                                                                                             7360
  Note


  LOCAL TITLE: Nursing Note
  STANDARD TITLE: NURSING NOTE
  DATE OF NOTE: SEP 17, 2020@14:04 ENTRY DATE: SEP 17, 2020@14:04:44
     AUTHOR: OLEYNIK,RIMA      EXP COSIGNER:
    URGENCY:                STATUS: COMPLETED

  Pt identified by their DOB, first and last name.

  COVID-19 Telephone Follow-Up
  Patient notified of negative COVID-19 test result.
   Recommendations:
    - Minimize contact with others until 24 hours
      after symptoms resolve.
    Steps to prevent the spread of COVID-19:
    - Stay at home except to get medical care that cannot be provided
      by a telephone or video visit.
    - Get rest and stay hydrated.
    - Call ahead before visiting your doctor.
    - Wear a facemask if you are around others.
    - Cover your coughs and sneezes.
    - Clean your hands often.
    - Keep a six-foot distance from others in your home, ideally in a
      separate room. Isolate in a private room, if available.
    - Avoid sharing household items.
    - Disinfect high touch surfaces daily, ideally with a product
      that kills cold and flu viruses.

  /es/ Rima Oleynik, LVN
  Licensed Vocational Nurse, Primary Care
  Signed: 09/17/2020 14:09


                    Date/Time: 17 Sep 2020 @ 0838
                     Note Title: Primary Care Interim Note
                      Location: No CA Healthcare Sys-Martinez
                     Signed By: BUCAYCAY,ELEANOR
                  Co-signed By: BUCAYCAY,ELEANOR
              Date/Time Signed: 12 Jan 2021 @ 0805

  Note


  LOCAL TITLE: Primary Care Interim Note
  STANDARD TITLE: PRIMARY CARE NOTE
  DATE OF NOTE: SEP 17, 2020@08:38 ENTRY DATE: SEP 30, 2020@08:38:36
     AUTHOR: BUCAYCAY,ELEANOR EXP COSIGNER:
    URGENCY:                  STATUS: COMPLETED

                                                                              APPENDIX 681
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                      Page 223
                                                                     Page 27 of 46 PageID    of 337
                                                                                          7361
  Here today for ffup. He has the chronic cough, Not on any meds. Allergy to
  dairy
  is the only allergy he is aware of.
  He has nasl/sinus issues. Was never seen by ENT. Nonsmoker.Denies any GERD
  issues.


  Computerized Problem List is the source for the following:

  1. Knee pain                          08/26/20
  BUCAYCAY,ELEANO
  2. Depressive episode                      08/31/15 WEBER,DIANE
  ELL
  3. General Anxiety                       08/31/15 WEBER,DIANE
  ELL
  4. Varicose veins of lower extremity (SNOMED CT       08/04/14 TAYLOR,JEFFERY
  72866009)
  5. Impaired Fasting Glucose (ICD-9-CM 790.21)        04/24/13
  DOCTOR,FEDERICO
  6. GERD * (ICD-9-CM 530.81)                   04/24/13
  DOCTOR,FEDERICO
  7. DJD, Knee/Lower Leg                      03/04/13 TAYLOR,JEFFERY
  8. CMP INT ORT DEV/GFT NOS                      03/04/13 TAYLOR,JEFFERY
  9. Low Back Pain * (ICD-9-CM 724.2)              08/09/12
  DOCTOR,FEDERICO
  10. Hearing loss * (ICD-9-CM 389.9)             05/24/10
  DOCTOR,FEDERICO
  11. Hyperlipidemia                        06/30/08 WOO,JOSEPH C
  12. Pain in joint involving lower leg (ICD-9-CM    06/27/08 WOO,JOSEPH C
  719.46)
  13. Tear of lateral cartilage or meniscus of knee, 06/27/08 WOO,JOSEPH C
  current (ICD-9-CM 836.1)

  Active Outpatient Medications (excluding Supplies):

     Active Outpatient Medications              Status
  =========================================================================
  1) IBUPROFEN 800MG TAB TAKE ONE TABLET BY MOUTH THREE ACTIVE
      TIMES A DAY - FOR PAIN OR INFLAMMATION.
  Vitals - most recent BMI: 25.4
   Height: 68 in [172.7 cm] (07/26/2019 13:37)
   Weight: 167 lb [75.9 kg] (09/15/2020 12:27)
   Temp: 98.1 F [36.7 C] (09/15/2020 12:27)
   Pulse: 66 (09/15/2020 12:27)
   Resp: 16 (09/15/2020 12:27)
   BP: 128/74 (09/15/2020 12:27)
   O2 Sat: No data available for PULSE OXIMETRY
  Gen: obese, nad, normal gai, no AD
  Neck: no jvd, nomasses. no LN palpated
  Heart:rrr, n0o m
  Lungs:clear to a, no crackles or wheezes
  Abd: soft, no masses, no tendernwes
                                                                            APPENDIX 682
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                        Page 224
                                                                      Page 28 of 46 PageID    of 337
                                                                                           7362
  EXt: no edema:

  Collection DT Spec WBC HGB HCT MCV MCHC PLT
  08/20/2020 10:35 BLOOD 5.1 15.7 46.7 89.0 33.6 307
  07/25/2019 10:35 BLOOD 4.7 L 16.1 47.0 88.7 34.3 332
  Collection DT Spec GLUCOSE BUN CREAT NA      K CL CO2
  08/20/2020 10:35PLASMA 117 19 1.10 134 L 4.1 99 24
  07/26/2019 14:54PLASMA 100 21 1.03 132 L 4.6 99 26

  Collection DT Spec GLUCOSE BUN CREAT NA   K              CL   CO2
  08/20/2020 10:35PLASMA 117 19 1.10 134 L 4.1             99    24
  07/26/2019 14:54PLASMA 100 21 1.03 132 L 4.6             99    26


  A/P:


  /es/ Eleanor Bucaycay, MD
  Physician, Primary Care
  Signed: 01/12/2021 08:05


                  Date/Time: 15 Sep 2020 @ 1435
                   Note Title: Screening Covid
                    Location: No CA Healthcare Sys-Martinez
                   Signed By: SUBA,LETICIA P
                Co-signed By: SUBA,LETICIA P
            Date/Time Signed: 15 Sep 2020 @ 1438

  Note


  LOCAL TITLE: Screening Covid
  STANDARD TITLE: INFECTIOUS DISEASE RISK ASSESSMENT SCREENING NOT
  DATE OF NOTE: SEP 15, 2020@14:35 ENTRY DATE: SEP 15, 2020@14:35:19
     AUTHOR: SUBA,LETICIA P     EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Coronavirus Disease 2019 (COVID-19) Screen
  The patient reports no COVID-19 diagnosis.
   The patient reports not waiting for the results of a COVID-19 lab test.
   The patient reports no fever.
   The patient reports no new or worsening cough or shortness of breath.
   The patient reports no cold or flu-like symptoms.
   The patient reports no new onset of diarrhea, nausea or vomiting.
   The patient reports no new onset of headache, loss of taste or loss of
  smell.
   The patient reports no exposure to someone with COVID-19 within the past 2
   weeks.

  Result:
                                                                            APPENDIX 683
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                        Page 225
                                                                       Page 29 of 46 PageID    of 337
                                                                                            7363
   Screen is negative.



  COVID-19 Swab Testing
  Swab completed for Covid-19
   Pre-op /other: vet works as a flight crew, needing COVID-19 test for his
  work. Swabbed by Peggy,RN
  Plan: Post Swab Instructions Reviewed, Home Care Instructions Reviewed

  Veteran/caregiver verbalized an understanding of/agreed with the plan of care.
  Veteran/caregiver instructed to call VetsCONNECT or the PACT care manager for
  any future routine issues/concerns. Veteran/caregiver advised to call 911 for
  any potentially life threatening problems/conditions.


  /es/ Leticia P. Suba,RN,BSN
  Nursing Service
  Signed: 09/15/2020 14:38

  Receipt Acknowledged By:
  12/31/2020 13:30    /es/ Eleanor Bucaycay, MD
                Physician, Primary Care
  09/16/2020 09:23    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care


                   Date/Time: 15 Sep 2020 @ 1338
                    Note Title: Medical Clerk Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: SHEKHAR,RONIKA DEVI
                 Co-signed By: SHEKHAR,RONIKA DEVI
             Date/Time Signed: 15 Sep 2020 @ 1339

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: SEP 15, 2020@13:38 ENTRY DATE: SEP 15, 2020@13:39:10
     AUTHOR: SHEKHAR,RONIKA DEVI EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Walk in visit
   MSA Same Day Care: Unscheduled Visit
    From: Walk-In
   Visit
    Reason: Health Concern PUI
   Disposition
    To: Nurse PEGGY CM

                                                                              APPENDIX 684
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                        Page 226
                                                                       Page 30 of 46 PageID    of 337
                                                                                            7364
  /es/ RONIKS SHEKHAR SHEKHAR
  medical support assistan
  Signed: 09/15/2020 13:39


                   Date/Time: 15 Sep 2020 @ 1223
                    Note Title: Preventive Health Screen 11514
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: OLEYNIK,RIMA
                 Co-signed By: OLEYNIK,RIMA
             Date/Time Signed: 15 Sep 2020 @ 1245

  Note


  LOCAL TITLE: Preventive Health Screen 11514
  STANDARD TITLE: PREVENTIVE MEDICINE RISK ASSESSMENT SCREENING NO
  DATE OF NOTE: SEP 15, 2020@12:23 ENTRY DATE: SEP 15, 2020@12:23:36
     AUTHOR: OLEYNIK,RIMA        EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Clinical Reminders:
   Tobacco Use Screening:
     The patient has never used tobacco.

   Alcohol Use Screen (AUDIT-C):
    Alcohol Screen:
      SCREEN FOR ALCOHOL (AUDIT-C)
         An alcohol screening test (AUDIT-C) was negative (score=2).

         1. How often did you have a drink containing alcohol in the past
         year?
         Two to four times a month

         2. How many drinks containing alcohol did you have on a typical
         day when you were drinking in the past year?
         1 or 2

         3. How often did you have six or more drinks on one occasion in
         the past year?
         Never
    Patient had a negative AUDC score and does not require a follow-up

   Homelessness/Food Insecurity Screen:
     In the past 2 months, have you been living in stable housing that you
     own, rent, or stay in as part of a household? Yes - Living in stable
     housing.
      Are you worried or concerned that in the next 2 months you may NOT have
      stable housing that you own, rent, or stay in as part of a household?
        No - Not worried about housing near future
     In the past three months did you ever run out of food and you were not
                                                                             APPENDIX 685
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y       Document 239-16 Filed 04/26/24                      Page 227
                                                                      Page 31 of 46 PageID    of 337
                                                                                           7365
     able to access more food or have the money to buy more food?
      No - No Food shortage

  Depression Screening:
    PHQ-2+I9
       Depression Screening Score: 2
        The score on this administration is 2, which indicates a
        negative screen on the Depression Scale over the past two weeks.

        Suicide Screening Score: 0
         The results of this administration indicates a NEGATIVE
         primary screen for Risk of Suicide over the last 2 weeks.


        Over the past two weeks, how often have you been bothered by the
        following problems?

        1. Little interest or pleasure in doing things
        Several days

        2. Feeling down, depressed, or hopeless
        Several days

        3. Thoughts that you would be better off dead or of hurting
        yourself in some way
        Not at all

   Emotional Health Screening:
    The Veteran states they have worry or stress in their life.
     Source of concerns:
 ǁŽƌŬƌĞůĂƚĞĚstress

    Acknowledged Veterans concerns about their emotional health.
   stress.
  Vitals:
   Most recent VS: Wt. 167 lb [75.9 kg] (09/15/2020 12:27)
           BP 128/74 (09/15/2020 12:27)
           HR 66 (09/15/2020 12:27)
           Temp 98.1 F [36.7 C] (09/15/2020 12:27)
           BMI 25.4

  Nutrition Screening:
   Most recent measurements:
   Measurement DT WEIGHT
             LB(KG)[BMI]
   09/15/2020 12:27 167(75.75)[25]
   07/26/2019 13:37 165(74.84)[25]
   08/17/2015 11:24 164(74.39)[25]
   07/18/2014 13:34 162(73.48)[25]

   Ht. 68 in [172.7 cm] (07/26/2019 13:37)
   BMI 25.4
                                                                            APPENDIX 686
526652%(57$//(1
'DWHRI%LUWK
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                                                                      Page 32 of 46 PageID    of 337
                                                                                           7366

  /es/ Rima Oleynik, LVN
  Licensed Vocational Nurse, Primary Care
  Signed: 09/15/2020 12:45


                   Date/Time: 26 Aug 2020 @ 1016
                    Note Title: Primary Care Note
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: BUCAYCAY,ELEANOR
                 Co-signed By: BUCAYCAY,ELEANOR
             Date/Time Signed: 26 Aug 2020 @ 1025

  Note


  LOCAL TITLE: Primary Care Note
  STANDARD TITLE: PRIMARY CARE NOTE
  DATE OF NOTE: AUG 26, 2020@10:16 ENTRY DATE: AUG 26, 2020@10:16:27
     AUTHOR: BUCAYCAY,ELEANOR EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  I have never seen the patient in the past. Last seen by Dr. Wilson.
  He has 3 things he wants to be checked. Has chronic knee pain: woresning dur to
  the pain
  FMLA papres to be completed.
  He has an exposure to COVID as he works in th eplanes and was in Hongkong in
  Dec.
  In Jan Had been sick but recovered fast.

  A/P:
  1.Knee pain: xryas oredered. Consider Orthho
  2. COVID exposure: antibody toest requested
  3. FMLA to be addressed

  /es/ Eleanor Bucaycay, MD
  Physician, Primary Care
  Signed: 08/26/2020 10:25


                   Date/Time: 13 Aug 2020 @ 1132
                    Note Title: Patient Appointment Reminder Letter
                     Location: No CA Healthcare Sys-Martinez
                    Signed By: STEELE-SMITH,KELLEY DAWN
                 Co-signed By: STEELE-SMITH,KELLEY DAWN
             Date/Time Signed: 13 Aug 2020 @ 1133

  Note


                                                                              APPENDIX 687
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y      Document 239-16 Filed 04/26/24                        Page 229
                                                                       Page 33 of 46 PageID    of 337
                                                                                            7367
  LOCAL TITLE: Patient Appointment Reminder Letter
  STANDARD TITLE: PRIMARY CARE LETTERS
  DATE OF NOTE: AUG 13, 2020@11:32 ENTRY DATE: AUG 13, 2020@11:32:16
     AUTHOR: STEELE-SMITH,KELLEY EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED


                               Department Of Veterans
  Affairs
                       VA Northern California Health Care System
  (VANCHCS)


  CLINIC ADDRESS:
  5342 Dudley Blvd., McClellan, CA 95652

  AUG 13, 2020


   ROBERT ALLEN ROSS



  Dear Mr. ROSS:

  You have scheduled a VA Video Connect visit with your health care provider:

        08/25/2020 @ 2:00 Nsac VVC Pact Green

  On the day of your VVC appointment with your PCP, Eleanor Bucaycay MD
  Visit the website.
       Go to the VA Video Connect page on the VA App Store website at
  mobile.va.gov/ app/va-video-connect.
  Get set up.

       For Apple mobile devices (iPhone, iPad, or iPod Touch): Search for
  and download the "VA Video Connect" app from the Apple App Store
   Test your device.
       Open an internet browser and go to mobile.va.gov/app/va-video-
  connect. Once on the page, select "visit the VA Video Connect test
  site" to
  make sure your device's camera and microphone are fully functioning.
       If you would like to practice using the app before your appointment,
  ask your VA care team for a practice session.
   Join your visit.
       A few minutes before your video visit, find the appointment email
  from "donotreply@mobilehealth.va.gov" and select the appointment link
  to join
  your session. In some cases, you will be directed to a virtual waiting room
  before your session begins.
  Having technical difficulty? Contact the National Telehealth Technology Help
  Desk.
                                                                                 APPENDIX 688
526652%(57$//(1
'DWHRI%LUWK
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                                                                                         7368
       Call 866-651-3180 or 703-234-4483, Monday through Saturday, 7 a.m. ?
  11 p.m. Eastern time


  Thank you for the opportunity to serve you.

   Sincerely,
  Primary Care Clinic
  Northern California Health Care System
  Department of Veterans Affairs
  Bldg.98
  5342 Dudley Blvd.
  McClellan Park, CA 95652-1074
  Thank you for the opportunity to serve you

   Sincerely,



   /es/ KELLEY DAWN STEELE-SMITH
     ASA

  Patient Record Number 7366310



                      Date/Time: 15 Jul 2020 @ 0948
                       Note Title: Medical Clerk Note
                        Location: No CA Healthcare Sys-Martinez
                       Signed By: STEELE-SMITH,KELLEY DAWN
                    Co-signed By: STEELE-SMITH,KELLEY DAWN
                Date/Time Signed: 15 Jul 2020 @ 0950

  Note


  LOCAL TITLE: Medical Clerk Note
  STANDARD TITLE: COMMUNICATION NOTE
  DATE OF NOTE: JUL 15, 2020@09:48 ENTRY DATE: JUL 15, 2020@09:48:52
     AUTHOR: STEELE-SMITH,KELLEY EXP COSIGNER:
    URGENCY:                 STATUS: COMPLETED

  Phone Call
  WHO IS CALLING: Patient

  REASON FOR CALL:pt called to reschedule his appointment to August needs to
  have blood work added. Per pt don't need to call him back

  TIME PATIENT WILL BE HOME FOR RETURN CALL: Jul 15,2020@15:00

  MESSAGE MAY BE LEFT WITH: Patient
                                                                              APPENDIX 689
526652%(57$//(1
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                                                                                    7369

  CALLER'S MOOD: Calm

  DISPOSITION: Note forwarded to RN

  ADDRESS:



  AGE: 60 y.o.

  PCP:

  FUTURE APPOINTMENT(S):
  MAS CLINIC VISITS FUTURE
  08/25/2020 14:00 NSAC PACT GREEN

  Letter Reminders
  RECALL DATE       CLINIC
  No data available

  /es/ KELLEY DAWN STEELE-SMITH
  MSA
  Signed: 07/15/2020 09:50

  Receipt Acknowledged By:
  07/15/2020 10:36    /es/ Shearon Jones, RN
                Nursing Service, Case Manager, Primary Care




                                                                     APPENDIX 690
526652%(57$//(1
'DWHRI%LUWK
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                                                                                     7370



   Self Reported Medical Events
                       Source: Self-Entered
   No information was available that matched your selection.




                                                                      APPENDIX 691
526652%(57$//(1
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                                                                                               7371



   VA Immunizations/Vaccinations
                         Source: VA
                  Last Updated:
   Your VA immunizations/vaccinations list may not be complete. If you have questions about your
   vaccinations, contact your VA health care team.

   This section shows your five most recent vaccination records.
                     Sorted By: Date Received (Descending)

   Immunization                                                          Date Received
   COVID-19 (MODERNA), MRNA, LNP-S, PF, 100 MCG/0.5ML DOSE               27 Mar 2021 @ 1200
   OR 50 MCG/0.25ML DOSE
   COVID-19 (MODERNA), MRNA, LNP-S, PF, 100 MCG/0.5ML DOSE               27 Feb 2021 @ 1200
   OR 50 MCG/0.25ML DOSE
   INFLUENZA, INJECTABLE, QUADRIVALENT, PRESERVATIVE FREE                06 Oct 2020 @ 1040
   TDAP                                                                  26 Jul 2019 @ 1330
   TD(ADULT) UNSPECIFIED FORMULATION                                     --

   This section shows all the vaccinations listed in your official VA health record, grouped by vaccination.
                     Sorted By: Immunization Name, then Date (Descending)

                 Immunization: COVID-19 (MODERNA), MRNA,                Date Received: 27 Mar 2021 @
                               LNP-S, PF, 100 MCG/0.5ML DOSE                           1200
                               OR 50 MCG/0.25ML DOSE
                     Location: NORTHERN CALIFORNIA HCS
                    Reaction:* None Reported
                   Comments: --

                 Immunization: COVID-19 (MODERNA), MRNA,                Date Received: 27 Feb 2021 @
                               LNP-S, PF, 100 MCG/0.5ML DOSE                           1200
                               OR 50 MCG/0.25ML DOSE
                     Location: NORTHERN CALIFORNIA HCS
                    Reaction:* None Reported
                   Comments: --

                 Immunization: INFLUENZA, INJECTABLE,                   Date Received: 06 Oct 2020 @
                               QUADRIVALENT, PRESERVATIVE                              1040
                               FREE
                     Location: ZZNSAC PACT IMMUNIZATION
                    Reaction:* None Reported
                   Comments: --

                 Immunization: TD(ADULT) UNSPECIFIED                    Date Received: --
                               FORMULATION
                                                                                  APPENDIX 692
526652%(57$//(1
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                                                                       Page 38 of 46 PageID    of 337
                                                                                            7372
                      Location: NORTHERN CALIFORNIA HCS
                     Reaction:* None Reported
                    Comments: --

                 Immunization: TDAP                                  Date Received: 26 Jul 2019 @
                                                                                    1330
                      Location: NSAC PACT GREEN
                     Reaction:* None Reported
                    Comments: --

   Reaction Key: * = Check your VA Allergies and Adverse Reactions record as well as your Self-Reported
   Allergies in My HealtheVet. This may show an adverse reaction to a vaccination you received. If you
   have questions about your vaccinations, contact your VA health care team.




                                                                              APPENDIX 693
526652%(57$//(1
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                                                                                     7373



   Self Reported Immunizations
                       Source: Self-Entered
   No information was available that matched your selection.




                                                                      APPENDIX 694
526652%(57$//(1
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                                                                                                7374



   VA Laboratory Results
                           Source: VA
                    Last Updated: 31 Dec 2023 @ 1453
                        Sorted By: Date Specimen Collected (Descending) then Time Specimen Collected
  VA test results are generally available to you 36 hours after the results are finalized. COVID-19 test
  results are available to you immediately after the results are finalized. When you review your test results,
  please remember that not all test results outside the reference range are clinically significant. You may be
  seeing a test result before your provider. Your provider will be reviewing your test results and may
  contact you with additional information. If you have questions, please call or message your provider or
  team.
  If you would like to talk to a mental health provider, please call your local facility for same day services
  (Same-Day Healthcare Services Search - VA Access to Care) . If you are in crisis, please contact the
  Veterans Crisis Line for confidential intervention and support 24 hours a day, seven days a week, 365
  days a year at 988 and Press 1, chat online at VeteransCrisisLine.net/Chat , or send a message to 838255.

                        Lab Test: Drug Screen Basic
                       Lab Type: Chemistry/Hematology                          Ordering DOMA, ANAMIKA
                                                                               Provider:
                      Specimen: Urine (substance)                              Ordering SACRAMENTO VA
                                                                               Location: MEDICAL CENTER
           Date/Time Collected: 22 Sep 2023 @ 1125                            Collected SACRAMENTO VA
                                                                               Location: MEDICAL CENTER
        Test Name            Result           Units    Reference Range         Status       Performing
                                                                                             Location
   AMPHETAMINES           NEG            --           (NEG                  Final        SACRAMENTO VA
                                                      (Cutoff=1000ng                     MEDICAL CENTER
                                                      /mL))                              10535 HOSPITAL
                                                                                         WAY , MATHER,
                                                                                         CA 95655-4200
   Interpretation:        Highlights:
                          A. Enzyme-Multiplied Immunoassay is typically the first test used to
                          screen for drugs
                          B. Confirmatory testing is required / considered when:
                          1) Negative for prescribed opioid -immunoassay less/not sensitive for
                          semisynthetic and synthetic opioids
                          2) Negative for prescribed benzodiazepines - immunoassay less sensitive
                          to clonazepam, lorazepam, and alprazolam
                          3) Positive for prescription drugs not prescribed (benzodiazepines,
                          opioids, stimulants.)
                          4) Positive for illicit drugs (methamphetamine, cocaine, etc)
                          - amphetamines are highly cross-reactive
                          Positive screening results are unconfirmed and should not be used for
                          non-medical purposes.
                          Specimens for drugs of abuse are kept for 30 days if further
                          testing/confirmation is required.
   COCAINE                NEG            --              (NEG               Final       SACRAMENTO VA
                                                         (Cutoff=300ng                  MEDICAL CENTER
                                                                                  APPENDIX 695
526652%(57$//(1
'DWHRI%LUWK
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                                                                      Page 41 of 46 PageID    of 337
                                                                                           7375
                                                  /mL))                            10535 HOSPITAL
                                                                                   WAY , MATHER,
                                                                                   CA 95655-4200
   CANNABINOIDS            NEG         --         (NEG (Cutoff=50ng    Final       SACRAMENTO VA
                                                  /mL))                            MEDICAL CENTER
                                                                                   10535 HOSPITAL
                                                                                   WAY , MATHER,
                                                                                   CA 95655-4200
   OPIATES                 NEG         --         (NEG                 Final       SACRAMENTO VA
                                                  (Cutoff=300ng                    MEDICAL CENTER
                                                  /mL))                            10535 HOSPITAL
                                                                                   WAY , MATHER,
                                                                                   CA 95655-4200
   Creatinine, Urine       41.8        mg/dl      (27-300)             Final       SACRAMENTO VA
                                                                                   MEDICAL CENTER
                                                                                   10535 HOSPITAL
                                                                                   WAY , MATHER,
                                                                                   CA 95655-4200
   OXYCODONE               NEG         --         (NEG (Cutoff=300     Final       SACRAMENTO VA
                                                  ng/mL))                          MEDICAL CENTER
                                                                                   10535 HOSPITAL
                                                                                   WAY , MATHER,
                                                                                   CA 95655-4200
                       Comments: --
                            Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                         Lab Test: Gen Chem Specimen
                        Lab Type: Chemistry/Hematology              Ordering DOMA, ANAMIKA
                                                                     Provider:
                   Specimen: Urine (substance)                      Ordering SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
          Date/Time Collected: 22 Sep 2023 @ 1125                   Collected SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
      Test Name            Result         Units   Reference Range    Status       Performing
                                                                                   Location
   APPEARANCE         Clear            --                         Final        SACRAMENTO VA
                                                                               MEDICAL CENTER
                                                                               10535 HOSPITAL
                                                                               WAY , MATHER,
                                                                               CA 95655-4200
   URINE COLOR        COLORLESS        --                         Final        SACRAMENTO VA
                                                                               MEDICAL CENTER
                                                                               10535 HOSPITAL
                                                                               WAY , MATHER,
                                                                               CA 95655-4200
   SPECIFIC GRAVITY 1.009              --         (1.003-1.035)   Final        SACRAMENTO VA
                                                                               MEDICAL CENTER


                                                                               APPENDIX 696
526652%(57$//(1
'DWHRI%LUWK
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                                                                   Page 42 of 46 PageID    of 337
                                                                                        7376
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   UR.               Negative            mg/dL        (0.2-1.0)         Final         SACRAMENTO VA
   UROBILINOGEN                                                                       MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE BLOOD       Negative            --           (NEG)             Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE BILIRUBIN   Negative            --           (NEG)             Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE KETONES     Negative            mg/dL        (NEG)             Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE GLUCOSE     Negative            mg/dL        (NEG)             Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE PROTEIN     Negative            mg/dL        (NEGTRACE)        Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE PH          6.5                 --           (5.0-8.0)         Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   URINE NITRITE     Negative            --           (NEG)             Final         SACRAMENTO VA
                                                                                      MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   LEUKOCYTE         Negative            Leu/uL       (NEG)             Final         SACRAMENTO VA
   ESTERASE                                                                           MEDICAL CENTER
                                                                                      10535 HOSPITAL
                                                                                      WAY , MATHER,
                                                                                      CA 95655-4200
   Interpretation:   Reflex cultures are not performed on Urinalysis orders for future
                     collection. If a culture is needed on this specimen, the laboratory must
                     be notified within 48 hours of collection.
                                                                          APPENDIX 697
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y     Document 239-16 Filed 04/26/24                        Page 239
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                                                                                           7377
                   Mather lab: 916-366-5373
                   Martinez lab: 916-372-2961
                   Redding lab: 530-226-7595
                   Oakland lab: 510-267-7532
                   Chico lab: 530-879-5024
                Comments: Reagent strip does not indicate a microscopic exam.
                               Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                      Lab Test: Troponin I POC
                     Lab Type: Chemistry/Hematology                 Ordering DOMA, ANAMIKA
                                                                     Provider:
                    Specimen: Blood (substance)                     Ordering SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
          Date/Time Collected: 22 Sep 2023 @ 0955                   Collected SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
       Test Name          Result        Units       Reference      Status         Performing
                                                       Range                       Location
   TROPONIN-I (i-      0.01         ng/mL        (<0.04)        Final          SACRAMENTO VA
   STAT)                                                                       MEDICAL CENTER
                                                                               10535 HOSPITAL
                                                                               WAY , MATHER, CA
                                                                               95655-4200
   Interpretation:     SEND CRITICAL SAMPLES TO MAIN LABORATORY FOR CONFIRMATION
                   Comments: Operator ID Britts Kelley
                                Meter ID 379956
                                 Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                      Lab Test: D Dimer Quant~ACL 3000
                     Lab Type: Chemistry/Hematology                          Ordering DOMA, ANAMIKA
                                                                             Provider:
                   Specimen: Plasma (substance)                              Ordering SACRAMENTO VA
                                                                             Location: MEDICAL CENTER
          Date/Time Collected: 22 Sep 2023 @ 0955                           Collected SACRAMENTO VA
                                                                             Location: MEDICAL CENTER
       Test Name          Result         Units          Reference          Status         Performing
                                                          Range                            Location
   D-DIMER            289            ng/mL FEU (0-500)                 Final           SACRAMENTO VA
                                                                                       MEDICAL CENTER
                                                                                       10535 HOSPITAL
                                                                                       WAY , MATHER, CA
                                                                                       95655-4200
   Interpretation:    Reference range for this assay (D-DIMER) changed 06/18/2018
                      Previous reference range: 6-450 ng/ml FEU.
                      FEU=Fibrinogen Equivalent Units
                      In the appropriate clinical setting a d-dimer level in the
                      reference range largely rules out active intravascular thrombosis
                      with a probability of >90%. Results of D-Dimer testing should be
                                                                             APPENDIX 698
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y    Document 239-16 Filed 04/26/24                        Page 240
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                                                                                          7378
                   interpreted in conjunction with the patient's history and clinical
                   presentation. Clinical diagnosis should not be based only on
                   D-Dimer test results for exclusion of VTE (DTE or PE).
                Comments: --
                              Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                      Lab Test: Hemogram V~SYSMEX XE-2100
                     Lab Type: Chemistry/Hematology                Ordering DOMA, ANAMIKA
                                                                    Provider:
                  Specimen: Blood (substance)                      Ordering SACRAMENTO VA
                                                                    Location: MEDICAL CENTER
         Date/Time Collected: 22 Sep 2023 @ 0955                   Collected SACRAMENTO VA
                                                                    Location: MEDICAL CENTER
    Test Name        Result         Units    Reference Range    Status       Performing Location
   WBC           9.1            K/cmm         (4.8-10.8)     Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   RBC           4.97           M/cmm         (4.7-6.1)      Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   HGB           15.2           g/dL          (14-18)        Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   HCT           44.8           %             (42-52)        Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   MCV           90.1           fL            (80-99)        Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   MCH           30.6           uug           (27-34)        Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   MCHC          33.9           gm/dL         (31.8-35.3)    Final            SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
                                                                            APPENDIX 699
526652%(57$//(1
'DWHRI%LUWK
      Case 4:22-cv-00343-Y   Document 239-16 Filed 04/26/24                   Page 241
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                                                                                    7379
   PLT           323           K/cmm        (130-400)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   MPV           9.5           fL           (9.1-12.5)        Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   LYMPH %       16.5 Low      %            (20-51)           Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   LYMPH #       1.5           K/cmm        (1.2-3.4)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   MONO %        7.6           %            (2.0-13.0)        Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   MONO #        0.7           K/cmm        (0.2-1.2)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   EOS %         0.9           %            (0.5-7.0)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   EOS #         0.1           K/cmm        (0.1-0.5)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   BASO %        0.4           %            (0-2.0)           Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   NEUT #        6.7           K/cmm        (1.5-7.9)         Final        SACRAMENTO VA
                                                                           MEDICAL CENTER
                                                                           10535 HOSPITAL
                                                                           WAY , MATHER, CA
                                                                           95655-4200
   NEUT %        74.3          %            (40-80)           Final        SACRAMENTO VA
                                                                      APPENDIX 700
526652%(57$//(1
'DWHRI%LUWK
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                                                                                     7380
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   BASO #         0.0            K/cmm         (0.0-0.2)       Final          SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   IG #           0.0            K/cmm         (<0.4)          Final          SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   IG %           0.3            %             (<4.9)          Final          SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
   RDW-SD         42.9           fL            (35.1-43.9)     Final          SACRAMENTO VA
                                                                              MEDICAL CENTER
                                                                              10535 HOSPITAL
                                                                              WAY , MATHER, CA
                                                                              95655-4200
                  Comments: --
                            Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                     Lab Test: Ethanol
                    Lab Type: Chemistry/Hematology                  Ordering DOMA, ANAMIKA
                                                                     Provider:
                    Specimen: Serum (substance)                     Ordering SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
          Date/Time Collected: 22 Sep 2023 @ 0955                   Collected SACRAMENTO VA
                                                                     Location: MEDICAL CENTER
       Test Name          Result       Units        Reference      Status         Performing
                                                      Range                        Location
   ALCOHOL (BLOOD) <5               mg/dL        (<5)           Final          SACRAMENTO VA
                                                                               MEDICAL CENTER
                                                                               10535 HOSPITAL
                                                                               WAY , MATHER, CA
                                                                               95655-4200
   Interpretation:     NORMAL: <5 = NONE DETECTED. LEGAL INTOXICATION: 80 mg/dl or 0.08%.
                   Comments: --
                                 Performing Location Name/Address:
   SACRAMENTO VA MEDICAL CENTER 10535 HOSPITAL WAY , MATHER, CA 95655-4200

                     Lab Test: Hepatic Function Panel
                    Lab Type: Chemistry/Hematology                     Ordering DOMA, ANAMIKA
                                                                         APPENDIX 701
